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December 2, 2021
VIA ECF FILING

The Honorable John Milton Younge
United States District Court, Eastern District of Pennsylvania
4007 U.S. Courthouse,. Courtroom 4A
Philadelphia, PA 19106

Re:     Buccigrossi v. Thomas Jefferson University, Case No. 21-cv-000221-JMY
        Joint Request for Extension of Scheduling Order

Dear Judge Younge:

I represent Defendant Thomas Jefferson University (“Jefferson”) in the above-captioned matter.
I write pursuant to Rule A.l. of Your Honor’s Policies and Procedures to seek an additional
extension of the Court’s August 31, 2021 Scheduling Order (ECF No. 26). Counsel for Plaintiff
Lena Buccigrossi joins in this request.

The parties continue to diligently engage in written discovery and document production, with
Jefferson having produced over 7,600 pages of documents to date. However, the parties require
additional time to complete written discovery and take depositions due to, among other things,
the extent of ESI discovery, competing deadlines in other cases, and the continued impact of
COVID-19. Accordingly, the parties request an additional extension of existing litigation deadlines
as set forth below:

Event                                        Current Deadline         Proposed Deadline
Close of Fact Discovery                      January 31, 2022         May 2, 2022
Plaintiff’s Expert Report(s) Due             February 14, 2022        May 16, 2022
Defendant’s Expert Report(s) Due             February 28, 2022        May 30, 2022
Close of Expert Discovery                    March 14, 2022           June 13, 2022
Dispositive Motions Due                      April 12, 2022           July 11, 2022
Responses to Dispositive Motions Due         May 12, 2022             August 10, 2022
Pretrial Memoranda Due                       August 2, 2022           October 31, 2022
Final Pretrial Conference                    August 9, 2022 10:00am   November 7, 2022 10:00am
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The parties thank you for your consideration to this matter.

Very truly yours,




Michael Baughman
